
670 S.E.2d 565 (2008)
STATE of North Carolina
v.
Antwan Montrece BANKS.
No. 426P08.
Supreme Court of North Carolina.
December 11, 2008.
Christy E. Wilhelm, Concord, for Banks.
Elizabeth N. Strickland, Special Deputy Attorney General, Rick Shaffer, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed on the 11th day of September 2008 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:

*566 "Denied by order of the Court in conference, this the 11th day of December 2008."
